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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 STEVEN LEON DAVIS,        )
 Individually and As Personal
                           )
 Representative of the Estate of
                           )
 MARY ALICE DAVIS,         )
 Deceased,                 )
                           )
        Plaintiff,         )
                           )                    CASE NO: 2:12-CV-0373-JMS-WGH
        vs.                )
                           )
 WILLIAM RYAN SUTHERLAND, )
 M.D., and HIRISADARAHALLY )
 NAGARAJA, M.D.,
                           )
        Defendants.        )

                         ORDER FOR DISMISSAL WITH PREJUDICE

        This cause having come before the Court upon the parties’ Stipulation for Dismissal with

 Prejudice and the Court being duly advised in the premises, it is

        ORDERED, ADJUDGED AND DECREED that all claims of the plaintiff against

 defendants, William Ryan Sutherland, M.D. and Hirisadarahally Nagaraja, M.D. (n/k/a Raj N.

 Nagaraj, M.D.), arising out of the matters and facts alleged in plaintiff’s Complaint for Damages

 should be dismissed with prejudice to the plaintiff, at plaintiff’s costs, costs paid.

          04/29/2014
 Dated:_______________________
                                                                 _______________________________

                                                                   Hon. Jane Magnus-Stinson, Judge
                                                                   United States District Court
 Copies to:                                                        Southern District of Indiana

 Deborah K. Pennington
 GARAU GERMANO HANLEY & PENNINGTON, P.C.
 dpenning@gghplaw.com
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